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                                 IN THE UNITED STATES DISTRICT COURT
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2                                                                                                               y
                             FOR THE EASTERN DISTRICT OF VIRGINIA
3                                                                                       CLERK, U.S. DIS;RICT COURT
                                                                                               RICHMOnD.VA
4                                        RICHMOND DIVISION

5
     ROBERT DAVID STEELE, et al.,                      Case No.: 3:17-cv-0060I-MHL

6
                    Plaintiff,
 7
                                                        MEMORANDUM IN SUPPORT OF
     vs.
                                                        DEFENDANT'S MOTION TO COMPEL
8
                                                       PLAINTIFF TO COMPLY WITH PRETRIAL
     JASON GOODMAN,et al..
9                                                      ORDER AND SUA SPONTE ORDER
                    Defendant
10


11
         MEMORANDUM IN SUPPORT OF DEFENDANT'S MOTION TO COMPEL
12     PLAINTIFF TO COMPLY WITH PRETRIAL ORDER AND SUA SPONTE ORDER

13


14          Defendant Jason Goodman Pro Se respectflilly seeks to move this court to compel

15
     Plaintiff and his Counsel to comply with all court orders as written and to issue sanctions against
16
     Plaintiff and his Counsel for failing to comply with the Initial Pretrial Order(ECF No. 157)and
17
     failing to adhere to subsequent changes to scheduled proceedings as described in the Sua Sponte
18

     Order(ECF No. 175).
19


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     MEMORANDUM IN SUPPORT OF DEFENDANT'S MOTION TO COMPEL PLAINTIFF TO COMPLY WITH
     PRETRIAL ORDER AND SUA SPONTE ORDER - 1
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 1                                      STATEMENT OF FACTS

2
            On August 1,2019, the honorable M. Hannah Lauck issued an Initial Pre-Trail Order
3
     (IPO)laying out the parameters by which all parties are compelled to proceed at the risk of
4

     sanctions in accordance with the Fed. R. Civ. P. 16(f) as stated in paragraph 50 of the IPO(EOF
5


6    No. 157).

 7          In paragraph 48,the IPO orders the parties to submit a jointly proposed Final Pretrial
8
     Order(FPO)not later than (7)days prior to the Final Pretrial Conference. The IPO further
9
     orders in paragraph 50 that "It shall be the responsibility ofcounselfor plaintiff(s) to assemble
10

     and distribute to all other counsel a draft ofthe Final Pretrial Order in sufficient time
11


12   [emphasis added] to allow completion before the Final Pretrial Conference." At the time of this

13   filing. Counsel for Plaintiff has failed to meet this requirement.
14
            In Paragraph 51, the order additionally states "Ifno Final Pretrial Conference is to be
15
     held, the Final Pretrial Order shall be presentedfor entry by 5:00 p.m. seven (7) days before the
16

     commencement oftrial."
17


18          Prior to of any of the dates stipulated in the IPO, Judge Lauck issued the sua sponte order

19   (SSO)superseding the IPO, canceling the previously scheduled Final Pretrial hearing as well as
20
     the trial, and calling for the Settlement Hearing on March 16, 2020 which has yet to occur.
21
     Additionally, the order scheduled a new trial date of May 5-7,2020 should the parties fail,
22

     through good faith negotiations, to settle. This order leaves the determination as to whether a
23


24   new Final Pretrial Hearing will occur or not up to the outcome of the Settlement Hearing. This

25   outcome could cause the Final Pretrial hearing not to occur which would in turn move the filing
26
     date for the FPO to April 2020 if a new trial should take place at all.
27


28
     MEMORANDUM IN SUPPORT OF DEFENDANT'S MOTION TO COMPEL PLAINTIFF TO COMPLY WITH
     PRETRIAL ORDER AND SUA SPONTE ORDER - 2
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 1          On March 8, 2020 counsel for Plaintiff Biss sent an email message containing a version
2
     of the FPO as a read only PDF document with no editable MS Word version included. Counsel
3
     for Co-Defendant Negron, Terry Frank promptly requested a Word Document to facilitate
4

     markup editing. Biss replied stating the MS Word Document was too large to email, offering no
5


6    explanation as to how such a large document could create a PDF which was readily emailed.

7    Rather, Biss insisted on using "High Tail" to send the excessively large editable document. High
8
     Tail is a messaging service Biss had previously agreed not to use for electronic file delivery to
9
     Defendant Goodman. Goodman reminded Biss of this and insisted on an email version or some
10

     alternate form of delivery that would not involve High Tail. At the time of this writing Biss has
11


12   not complied with the standing agreement between parties or the court's order. At the time of

13   this filing, Biss has failed to provide Defendant with an editable MS Word version of his draft
14
     FPO in sufficient time to complete as ordered in paragraph 50 ofthe IPO.
15
            The parties have yet to meet for the March 16 Settlement Hearing at which all are
16

     compelled to act in good faith toward settlement. At this time, it is impossible to know if there
17


18   will or will not be a Final Pretrial Conference without knowing the outcome of the Settlement

19   Hearing. Therefore, filing ofthe FPO as insisted upon by counsel for Plaintiff is inappropriate at
20
     this time.
21
            The court should note that Plaintiff has additionally provided Goodman with a settlement
22

     offer that appears identical to Plaintiffs previous offer which was rejected by Defendant in July.
23


24   Additionally, Plaintiff notified Defendant Goodman that Goodman's substantially more

25   favorable (to Plaintiff) eounteroffer was rejected in what appeared to be less time than would be
26
     required to read the offer, let alone to provide thoughtful consideration to the content.
27


28
     MEMORANDUM IN SUPPORT OF DEFENDANT'S MOTION TO COMPEL PLAINTIFF TO COMPLY WITH
     PRETRIAL ORDER AND SUA SPONTE ORDER - 3
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 1          These actions in combination with Counsel for Plaintiffs high-pressure approach in an
2
     attempt to force the filing ofthe FPO at this time cause Defendant to believe that Plaintiff and his
3
     counsel have no intention to enter into the Settlement Hearing in good faith as ordered.
4

            Even if the court disagrees with Defendant's conclusion regarding the adjustment to the
5


6    filing deadline ofthe FPO pending determination ofthe outcome ofthe Settlement Hearing,

 7   Counsel for Plaintiffs failure to adhere to document preparation and delivery instructions as
8
     ordered in paragraph 50 of the IPO, specifically Plaintiffs failure to provide an editable draft in
9
     sufficient time to allow completion by March 12, 2020, would still constitute a failure to follow
10

     the Court's order. This should result in Plaintiff being sanctioned in accordance with Fed. R.
11


12   Civ. P 16(f) as described in paragraph 50 of the IPO.

13          Counsel for Plaintiff has been highly uncooperative and even contentious throughout this
14
     proceeding. The motion to disqualify Counsel for Plaintiff alleges Biss held a key role in a
15
     conspiracy that involved Plaintiff and other individuals and was intended to earn money by
16

     bringing suit against Defendant Goodman for an improper purpose. Counsel for Plaintiff
17


18   continues to be excessively uncooperative during each interchange with Defendant. Plaintiff has

19   repeatedly, seemingly deliberately, refused to adhere to the agreement made in Judge Lauck's
20
     courtroom during the July Pretrial Conference. Biss continues to include unapproved parties, not
21
     agreed upon by counsel, on emails between counsel.
22

            Counsel for Plaintiff has also refused to adhere to agreed upon methods of electronic file
23

24   delivery. At the time of this filing, Biss has failed to provide an editable copy of the draft FPO.

25   Defendant believes these actions to be a failure to act in good faith as ordered.
26
            Counsel for Plaintiff has repeatedly attempted to coerce Defendant Goodman into
27
     providing his input into this critical document on an artificially compressed timeline, under
28
     MEMORANDUM IN SUPPORT OF DEFENDANT'S MOTION TO COMPEL PLAINTIFF TO COMPLY WITH
     PRETRIAL ORDER AND SUA SPONTE ORDER - 4
 Case 3:17-cv-00601-MHL Document 186 Filed 03/16/20 Page 5 of 7 PageID# 2967




 1   pressure of a wrongfully imposed deadline and at an inappropriate time. Biss has sent numerous
2
     emails emphasizing the importance of filing this document with the Court today on March 12,
3
     2020 in conflict with paragraph 51 ofthe IPO and other court orders.
4

            Biss has employed aggressive,'bully tactics' and sent these emails in what Defendant
5


6    believes was a contrived effort to tilt this proceeding in favor of his client irrespective of the

7    outcome ofthe Settlement Hearing or the outcome of a proposed oral arguments hearing on the
8
     motion to disqualify. This was done in coordination with an apparently deliberate effort to waste
9
     time by failing to provide the document in an appropriate editable format as ordered and by an
10

     agreed upon method.
11


12          For the reasons stated above. Defendant respectfully request that the court issue a new

13   order clarifying for all parties the definitive time and manner in which the FPO should be
14
     submitted, compelling Plaintiff to adhere to all Court orders and to sanction Plaintiff and
15
     Counsel for Plaintiff for repeated and deliberate failures to comply with Judge Lauck's orders in
16

     the original IPO and the subsequent SSO.
17


18          For these reasons in addition to any other reasons the court sees fit. Defendant

19   respectfully requests the Court to compel Plaintiffs compliance with orders as written and apply
20
     appropriate sanctions if and where the court deems necessary.
21


22

     Respectfully submitted March 12, 2020,
23


24
                                                                      Jasq^^oodman, Defendant, Pro Sc
25                                                                                  252   Avenue Apt 6s
                                                                                    New York, NY 10001
26
                                                                                         (323)744-7594
27                                                                         iruthu/ crowdsourccthctruth.oru

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     MEMORANDUM IN SUPPORT OF DEFENDANT'S MOTION TO COMPEL PLAINTIFF TO COMPLY WITH
     PRETRIAL ORDER AND SUA SPONTE ORDER - 5
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 1                               IN THE UNITED STATES DISTRICT COURT

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                             FOR THE EASTERN DISTRICT OF VIRGINIA
3


4                                        RICHMOND DIVISION

5
     ROBERT DAVID STEELE, et al.,                      Case No.: 3:I7-cv-00601-MHL

6
                    Plaintiff,
 7
                                                       CERTIFICATE OF SERVICE
     vs.

8

     JASON GOODMAN,et al..
9

                    Defendant
10


11
                                      CERTIFICATE OF SERVICE
12
            It is hereby certified that the accompanying materials have been placed in the U.S. Postal
13
     Service with First Class mail postage affixed and addressed to the following parties:
14
            Clerk of the Court
15

            U.S. District Court 701 E. Broad St.
16


17           Richmond, VA 23219

18


19
            Steven S. Biss
20
            300 West Main Street, Suite 102
21

            Charlottesville VA 22903
22


23


24
            Terry C Frank
25
            1021 E. Cary Street, 14th Floor
26
            Richmond VA 23219
27


28

     CERTIFICATE OF SERVICE - 1
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 1   I hereby attest that the foregoing is true and accurate under the penalties of perjury.
 2


 3
     Signed this    12   day of March 2020
4


 5


6


 7


8


9                                                                     Defendant,Pro Se Jason Goodman
                                                                                   252 7^'' Avenue Apt 6s
10                                                                                 New York, NY 10001
                                                                                         (323) 744-7594
11
                                                                                 crowdsourccthclrutli.ort:

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     CERTIFICATE OF SERVICE - 2
